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                 Exhibit 1
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                                                                                                                                                      USOO6972790B2


(12) United States Patent                                                                                                (10) Patent No.:                           US 6,972,790 B2
       Suska                                                                                                             (45) Date of Patent:                                    Dec. 6, 2005
(54) HOST INTERFACE FOR IMAGING ARRAYS                                                                                       6,721,008 B2               4/2004 Lee et al. ................... 348/302
                                                                                                                       6,833,862 B1* 12/2004 Li .............     ... 348/207.99
(75) Inventor: Mark Suska, Ottawa (CA)                                                                             2002/0101528 A1 8/2002 Lee et al. ................... 348/304
                                                                                                                   2002/0191090 A1                     12/2002 Safai .......................... 348/239
(73) Assignee: Psion Teklogix Systems Inc.,                                                                         2004/0004664 A1 1/2004 Safai ..................... 348/231.99
               Mississauga (CA)                                                                                               FOREIGN PATENT DOCUMENTS
(*) Notice:          Subject to any disclaimer, the term of this                                                 EP                               O 932 302 A2 7/1999
                     patent is extended or adjusted under 35                                                                                        OTHER PUBLICATIONS
                     U.S.C. 154(b) by 953 days.
                                                                                                                 OmniVision: “OV511 Advanced Camera to USB Bridge,
(21) Appl. No.: 09/742,723                                                                                       Data Sheet Rev. 1.0', Jul. 17, 1998, OmniVision Technolo
                                                                                                                 gies, XP002293773, * p. 6-p. 14 *, * tables 9-11 *, * figures
(22) Filed:           Dec. 21, 2000                                                                              1-4, 6,10,12 *.
(65)                     Prior Publication Data                                                                                                           (Continued)
        US 2002/0080244 A1             Jun. 27, 2002                                                             Primary Examiner Thai Tran
                                                                                                                 ASSistant Examiner-Nelson D. Hernandez
            Related U.S. Application Data                                                                        (74) Attorney, Agent, or Firm-Pearne & Gordon LLP
(60) Provisional application No. 60/177,496, filed on Jan.                                                       (57)                   ABSTRACT
        21, 2000.
                                                                                                                 An interface for receiving data from an image Sensor having
(51) Int. Cl." .............................................. H04N 5/228                                         an imaging array and a clock generator and for transferring
(52) U.S. Cl. ............................... 348/222.1; 348/230.1;                                              the data to a processor System is described. The interface
                            348/312; 348/231.6; 348/231.3                                                        comprises a memory for Storing the imaging array data and
(58) Field of Search .......................... 348/231.6, 231.1,                                                the clocking Signals at a rate determined by the clocking
                 348/231.9, 231.99, 222.1, 211.14, 207.2,                                                        Signals. In response to the quantity of data in the memory, a
                        348/207.1,230.1, 312,231.3,317                                                           Signal generator generates a signal for transmission to the
                                                                                                                 processor System and a circuit controls the transfer of the
(56)                     References Cited                                                                        data from the memory at a rate determined by the processor
                                                                                                                 system. The memory may be a first-in first-out (FIFO) buffer
                 U.S. PATENT DOCUMENTS                                                                           or an addressable memory. The interface is preferably inte
       4,837.628 A *      6/1989 Sasaki ..................... 348/220.1                                          grated on the same die as the image sensor. The Signal
       5,786.851 A * 7/1998 Kondo et al. ............ 348/222.1                                                  generator may generate either an interrupt Signal for trans
       5,801,773 A : 9/1998 Ikeda ...................... 348/229.1                                               mission to the processor System or a bus request Signal for
       E. A : S. yearst als                                             sil                                      transmission to a bus arbitration unit for the processor
       6,064,355. A   5/2000 Donahue et al. ............... 345/8                                                System.
       6,493.025 B1* 12/2002 Kiriyama et al. ........ 348/207.1
       6,704,310 B1* 3/2004 Zimmermann et al. ..... 370/389                                                                                       21 Claims, 8 Drawing Sheets




                                                              &-- MAGIMS                ?terface ;
                                                                                                                        : OTHER
                                                                                                                           Ecry
                                                                         are                                             costs
                                                                         ^-12               Y-13                        ------
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                                                              |                -
                                                              wiDEO                 1
                                                          |        St.             --


                                                                         21-
                                                                                                                   44
                                                                         MAGNG
                                                                                        0 | &- FFC BUFER                                    it.
                                                                                        3. ri                                    W
                                                                         array          38.                                      Y-15
                                                                                   .               47-s: as s
                                                                                                                                     1
                                                                  B: ADERESS
                                                                  ---                   &             RSA           : INTERRUPT
                                                                                                                       essRator
                                                                                                                                     "r,
                                                                  e GENERATER                               iso,

                                                                                                                 Comistration
                                                                               4ss          56- I                REGISTERsY-4s       Y-1s
                                                                                             S
                                                                               COMMAND !                    8,
                                                                               DECODE:
                                                                                                            a. array
                                                                                                               REGISTERs             &   15


                                                                           -
                                                                                                 Y,                      Y
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                                                          Fossum E. R. : “Digital Camera System on a Chip", IEEE
Digital Camera, Datasheet V1.3", May 15, 1999, OmniVi-    Mi      IEEE Inc. New York, US 1. 18. No. 3. Mav 1.
sion, XP002293774, * p. 3-p. 11 *, * figure 1 *.            1CrO,       nc. New York, US, Vol. 18, No. 3,c: May c:1,
Texas Instruments: “TMS320C54X DSP Reference Set; vol.    1998, pp. 8-15, XP000755752 ISSN: 0272-1732, * p. 12 * .
1: CPU and Peripherals”, Apr. 1999, Texas Instruments,    * cited by examiner
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                             1O




                                                    MEMORY
                                                    COMPONENTS




     WDEO           14
     CLOCK
     GENERATOR


                           FIGURE 1
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              12 N.                                  13
                      Y.                                  N

            21 N.
           - -
            IMAGING
           |ARRAY

   e - aarray is
      B     ADDRESS              C.       READ                 NTERRUPT
       B. GENERATOR                       control.             GENERATOR
                    Y-22                      Saw         St        S.
                                                               -
                                                    CONFIGURAON
                      45 -                          REGISTERS                N
               -                                 Leslie 46                       15
      16
           YJ COMMAND
                    DECODER                           ARRAY
                                                      REGISTERS




                                      FIGURE 2
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                            COLUMN AMPLIFERS,
   --- GAIN AMPLIFIERS,
                            COLUMN SELECTORS




        LINE
        DRIVERS                    3-
               35                  32
                                                  ARRAY OF PXELS




                            FIGURE 3
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               22 N
     B.

                                  42 N
          i                                                    As
                                     ROW
                                     COUNTER                   C.



                                                               C
                  41     C

     C                 COLUMN                                  A.
                       COUNTER
                             A.

     th

                             FIGURE 4
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                    INCREMENT/DECREMENT
                    COUNTER




                                      SHIFT REGISTER




                       FIGURE 5
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          BUS
          ARBTRATION                                          1O




      C        MAGNG
              ARRAY         INTERFACE                  MEMORY
                                                       COMPONENTS
                                                 15

                                                         11


      VIDEO            14
      CLOCK
      GENERATOR

                             FIGURE 6
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                12-N                                   73
                                                       44 N
             - 21MAGING
                   Y -         D,             c.
                                                    FIFO BUFFER
                                                               -
                                                                                 D
             | ARRAY                                                    Y-15
                                                        64 sy
    C.        ARRAY            C
                                                              N 55         17
                                                          BUS REO UEST          NS
         B    ADDRESS          C.                        GENERATOR        -----
         B. GENERATOR
                     N2                                  Ses       s
         /                          N Y-87
   -Hi-e                                               CONFIGURATION
              COMMAND              OUTPUT              REGISTERS
   Saa        UNIT        S.    ADDRESS
                                   UNIT                            46




                 COMMAND                                ARRAY

                                    58
   Saa                                    N                        49
                -




                                   FIGURE 7
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                 12                                                83
                      N                                                 Y
                                                                   81 N
                21 N                              C.
                Imaging is   \
                                                                AppRESSABLE
                                                                MEMORY
                                                                                            D
                                                                                            er
                ARRAY        N38 --- - - N15
                                              82           SR
                                                                            N
                                                                   48 N s: 55
                                                       Y                -
                                                                                       17
       B        ADDRESS          | C--                 Er                NTERRUPT           S,
           R-                    s                                      GENERATOR
      : B.E GENERATOR                              CONTROL
                                                   A
                      N 22

                                                                  MEMORY
                                                                  CONFIGURATION
                      45 -               85                       REGISTERS
                                              Y
       16 N           COMMAND            Y-57               B
                      DECODER




                  -



                                     FIGURE 8
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                                                     US 6,972,790 B2
                              1                                                                       2
    HOST INTERFACE FOR IMAGING ARRAYS                                              SUMMARY OF THE INVENTION

  This application claims the benefit of U.S. Provisional                 This invention is directed to an interface for receiving
Patent Application Ser. No. 60/177,496 filed on Jan. 21,               data from an image Sensor having an imaging array and a
2OOO.                                                                  clock generator, and for transferring the data to a processor
                                                                       System. The interface comprises a memory for Storing the
               FIELD OF THE INVENTION
                                                                       imaging array data and the clocking Signals at a rate deter
                                                                       mined by the clocking Signals. In response to the quantity of
                                                                       data in the memory, a Signal generator generates a signal for
  The invention relates generally to integrated electronic             transmission to the processor System and a circuit controls
image Sensing circuitry and more particularly to CMOS                  the transfer of the data from the memory at a rate determined
imaging circuitry.                                                     by the processor System. The memory may be a first-in
                                                                       first-out (FIFO) buffer or an addressable memory.
         BACKGROUND OF THE INVENTION                                      The Signal generator may generate an interrupt signal for
                                                                  15   transmission to the processor System or a bus request Signal
  Integrated circuit (IC) technology, applied to imaging, is           for transmission to a bus arbitration unit for the processor
revolutionizing that field. Semiconductors can be used to              System. The circuit for controlling the transfer of the data
represent an image as an electrical Signal. Charge coupled             may include a command decoder for receiving address and
                                                                       command Signals from the processor System, a configuration
devices (CCDs) are the most significant commercial IC                  register for storing configuration data for the FIFO buffer
technology to date. However, when compared with CMOS                   and a read control for controlling the read-out of the FIFO
technology, there are many advantages to producing CMOS                buffer, and may further include a bus command unit for
image devices.                                                         receiving control of the System bus and providing an address
   CMOS is a less expensive technology; CMOS employs                   for the data read-out from the memory.
fewer mask layerS and is a more mature fabrication tech           25      In accordance with another aspect of this invention, an
nology with greater commercial Volume. CCD technology                  integrated Semiconductor imaging circuit for use with an
complexity causes lower fabrication yield. One of the main             electronic processing System having a data bus comprises an
benefits of employing CMOS technology, compared to                     imaging array Sensor having an array of Sensing pixels and
CCD, is the ability to include image-processing elements on            an array address generator integrated on a die and an
the same Substrate as the imaging circuitry.                           interface integrated on the same die. The interface is adapted
  On a monolithic Semiconductor IC, with a Surface coin                to receive data from the imaging array Sensor as determined
cident to an optical focal plane, photosensitive elements are          by the imaging array and to transfer the data to the electronic
employed in pixels that are arranged in an array of rows and           processing System as determined by the electronic process
columns. The basis for the pixels of CMOS technology is a              ing System. The interface may include a memory Such as a
photoSensitive diode. In an active pixel arrangement each         35   FIFO buffer or an addressable memory for storing imaging
pixel photodiode is buffered from the shared readout com               array data and address Signals at a rate determined by the
ponents by an amplification Stage.                                     imaging array Sensor, and a circuit for controlling the
   IC image Sensors of existing technologies provide Video             transfer of the data from the memory means to the data bus
Style output. In one example, Such a Sensor receives master            at a rate determined by the electronic processing System. The
clock input. The Sensor derives data Sample, line, and clockS     40   imaging circuit may further include a bus arbitration circuit
from this master clock. These clocks, which correspond to              integrated on the same die and coupled to the circuit for
pixel, row, and column, control the Sampling rate of the               controlling the transfer of the data.
imaging array. The pixel data of Such a Sensor is output at the           In accordance with a further aspect of this invention, an
Same rate as it is Sampled. The derived clocks are output as           integrated Semiconductor imaging circuit for use with an
well to Synchronize the data output. The result is a stream of    45   electronic processing System having a data bus may com
Synchronized pixel intensities comprising a Video frame.               prise an imaging array of Sensing pixels, a buffer for Storing
   This output is incompatible with the data interface of              data received at an input port and for Outputting data through
commercial microprocessors, without the use of additional              an output port to the data bus, a circuit for transferring data
glue logic. A commercial microprocessor data interface                 from a Selected pixel to the buffer input port, a circuit for
consists of address and control output Signals and data           50   determining the quantity of data in the buffer, a circuit for
input/output signals. This configuration allows the processor          alerting the electronic processing System when the quantity
to randomly acceSS any word of data in memory by asserting             of data in the buffer attains a predetermined level and a
various addresses.                                                     controller adapted to respond to the electronic processing
  In an image acquiring computer System based on Such a                System for controlling the transfer of the Stored data through
                                                                  55   the buffer output port.
Sensor and Such a processor, additional interface circuitry to            In accordance with another aspect of this invention, an
respond to the Sensor clock outputs to Sample the Video                integrated Semiconductor imaging circuit for use with an
information, and to make this video data available in the              electronic processing System having a data bus and a System
memory Space of the processor. Optionally, this interface              address/control bus, may comprise an imaging array of
circuit may include interrupt signals to the processor, and       60   Sensing pixels, a buffer for Storing data received at an input
enough memory Space for a number of pixels.                            port and for outputting data through an output port to the
   Such additional circuitry diminishes the benefit of a single        data bus, a circuit for transferring data from a Selected pixel
Substrate that integrates Sensor and processing elements. The          to the buffer input port, a circuit for determining the quantity
CMOS technology optimum cost benefit is not reached.                   of data in the buffer, a controller for seeking control of the
   Therefore, there is a need for an interface which may be       65   data bus when the quantity of data in the buffer attains a
integrated with the imaging array which a System processor             predetermined level and adapted to respond to the availabil
can access to directly receive imaging data.                           ity of the data bus for controlling the transfer of the stored
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                              3                                                                    4
data through the buffer output port. The integrated Semicon             FIG. 7 is a block diagram of an imaging array Sensor that
ductor imaging circuit may further include a bus arbitration          includes an interface having bus arbitration circuitry; and
unit for receiving data bus control requests and for providing          FIG. 8 is a block diagram of an imaging array Sensor that
data bus control in response to a request, and the controller         includes an interface having an addressable memory.
for receiving bus control comprising a register for Storing
and incrementing destination addresses, and a circuit for                        DETAILED DESCRIPTION OF THE
asserting the destination address and write controls on the                              INVENTION
System address/control bus.
   In accordance with a further aspect of this invention, an
integrated Semiconductor imaging circuit for use with an         1O     The imaging computer System illustrated in FIG. 1
electronic processing System having a data bus, may com               includes a central processing unit (CPU) 10, other memory
prise an imaging array of Sensing pixels, an addressable              and System components 11, an imaging array Sensor 12, an
memory having a plurality of memory cells arranged in rows            interface 13 in accordance with the present invention and a
and columns for Storing data received at an input port and for        video clock generator 14. The CPU 10, components 11 and
outputting data through an output port to the data bus, a        15   interface 13 all have access to a system data bus 15 and are
circuit for transferring data from a Selected pixel to a              controlled by the CPU 11 via the system control and address
Selected memory cell through the memory input port, a                 buS 16. The clock generator 14 provides pixel clock signals
circuit for determining the quantity of data in the memory,           C to the imaging array Sensor 12. The interface 13 is further
a circuit for alerting the electronic processing System when          connected to the CPU 10 through an interrupt bus 17 by
the quantity of data in the memory attains a predetermined            which the CPU 10 is signalled that data is available for it to
level, and a controller adapted to respond to the electronic          upload.
processing System for controlling the transfer of the Stored             In accordance with the present invention, the interface 13
data through the memory output port.                                  Stores data and clocking Signals from the imaging array
   In accordance with another aspect of this invention, an            sensor 12 in order to free up the CPU 10 for other process
integrated Semiconductor imaging circuit for use with an         25
                                                                      ing. In addition, the full economic and commercial advan
electronic processing System having a data bus and a System           tage of CMOS technology may be gained by integrating the
address/control bus, may comprise an imaging array of                 interface 13 on the Same die as the imaging array Sensor 12.
Sensing pixels, an addressable memory having a plurality of             An embodiment of the interface 13 is illustrated as a block
memory cells arranged in rows and columns for Storing data            diagram in FIG. 2. The imaging array Sensor 12 includes an
received at an input port and for outputting data through an          imaging array 21 which is an array of active photosensitive
output port to the data bus, a circuit for transferring data          pixels with access control as will be described further with
from a selected pixel to a selected memory cell through the           reference to FIG. 3. The imaging array 21 further includes
memory input port, a circuit for determining the quantity of          an array address generator 22 which generates the column
data in the memory, and a controller for Seeking control of           addresses A, the row addresses A, the row clock C and
the data bus when the quantity of data in the memory attains     35
a predetermined level and adapted to respond to the avail             the frame clock C as will be described further with refer
                                                                      ence to FIG. 4.
ability of the data bus for controlling the transfer of the              Referring to FIG. 3, the array 30 of pixels 33 is organized
Stored data through the memory output port. The integrated
Semiconductor imaging circuit may further include a bus               in rows 31 and columns 32. Each pixel 33 is located at the
                                                                 40   intersection of a row 31 and a column 32. The row control
arbitration unit for receiving data bus control requests and          lines 34 provide access to a row 31 of pixels 33. The row line
for providing data bus control in response to a request, and
the controller for receiving bus control comprising a register        34 is driven by the row drivers 35 in response to the row
for Storing and incrementing destination addresses, and a             address Signal A. Each Selected pixel 33 asserts data onto
                                                                      its own column data line 36 when accessed. The data on
circuit for asserting the destination address and write con           lines 36 is amplified by column amplifiers and Second Stage
trols on the System address/control bus.                         45
   Other aspects and advantages of the invention, as well as          amplification in unit 37. Unit 37 further selects the column
the Structure and operation of various embodiments of the             32 as determined by column address A, from which array
invention, will become apparent to those ordinarily skilled           data DA is placed on the array output 38.
in the art upon review of the following description of the               Referring to FIG. 4, the array address generator 22 is
invention in conjunction with the accompanying drawings.         50   shown in greater detail. The column address A is generated
                                                                      by a column counter 41 which is incremented by the video
      BRIEF DESCRIPTION OF THE DRAWINGS                               System clock C. The maximum number of Sequential
                                                                      addresses generated by the column counter 41 will depend
  The invention will be described with reference to the               on the number of columns in the imaging array 21, however
accompanying drawings, wherein:                                  55   the actual number of Sequential addresses generated by the
   FIG. 1 is a block diagram of a computer System utilizing           column counter 41 will be determined by the column
the imaging array Sensor,                                             boundary signal B, which is controlled by the CPU 10 as
   FIG. 2 is a block diagram of an imaging array Sensor               will be described later. The row clock C is generated by the
                                                                      overflow of the column counter 41. The row counter 42
including the interface of the present invention;                60   generates the row address Signal A based on the row clock
   FIG. 3 is a block diagram of the pixel imaging array and           Signal C and the row boundary signal B. The maximum
acceSS,                                                               number of Sequential addresses generated by the row
   FIG. 4 is a block diagram of the video clock and array             counter 42 will depend on the number of rows in the imaging
address generator;                                                    array 21, however the actual number of Sequential addresses
   FIG. 5 is a block diagram of a FIFO buffer;                   65   generated by the row counter 42 will be determined by the
   FIG. 6 is a block diagram of a computer system with bus            row boundary signal B which is controlled by the CPU 10
arbitration utilizing the imaging array Sensor;                       as will be described later. The row clock C is also applied
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                              S                                                                         6
to an output 43 from the array address generator 22. The row              mask, and the FIFO interrupt register. All of these registers
counter 42 also generates a frame signal C based on count                 are connected to the System data buS 15 and are read/write
overflow.                                                                 capable, except the FIFO interrupt register, which is read
   Referring again to FIG. 2, the interface 13 includes a                 only and determines its value from the interrupt generator as
memory 44 as well as devices 45 to 49 required to support                 Signal S. The reading and writing of these registers is
the memory 44. In this particular embodiment, memory 44                   controlled by the FIFO register command bus 57. The output
is a first-in first-out (FIFO) buffer memory. FIFO buffer 44              of the FIFO configuration registers include FIFO limit signal
receives array data DA from the imaging array, clocking                   S, from the FIFO limit register, the interrupt enable signal
signals C. from the video clock generator 14 and clocking                 S from the FIFO interrupt mask, and the output bus width
Signals C and C from the array address generator 22. FIFO                 Signal S from the FIFO output bus width register.
buffer 44 is shown in greater detail in FIG. 5. The imaging                  The interrupt generator 48 compares the FIFO counter
array 21 output DA, row clock C and frame clock C. are                    output S, and the FIFO limit S. If SeS, and if the
bundled onto a single bus 51 for storage in the buffer 44. The            interrupt enable Signal S is valid, the generator 48 asserts
storage components of the FIFO buffer 44 are registers 52                 the interrupt signal S, to the CPU 10 via the interrupt bus 17.
arranged as a shift register Series 53. Since the total number       15   The use of an interrupt signal S as an interrupt to the CPU
of valid outputs may vary due to the differing rates of Storage           10 allows the processor to multi-task. It performs a buffer 44
and access, the buS 51 is connected to each register 52. An               unload operation when the interrupt is asserted, and carries
increment/decrement counter 54 is used to count the occur                 out other programmed tasks at all other times.
rences of FIFO buffer 44 writes and FIFO buffer 44 reads.                    Access to the array registers 49 is controlled by the array
Counter 54 has access to the pixel clock C and a FIFO read                register command bus, 58. Data is exchanged with the
signal S. The FIFO counter 54 outputS is applied to buffer                system data bus 15. The content of the registers 49 defines
output 55 and to the Register address decoder 56. The                     the number of rows and columns to be employed in the
decoder uses the counter output S, and pixel clock C in                   imaging array 21. This information is communicated to the
determining when to assert the appropriate register write                 array address generator 22 by the row and column boundary
Signal on lines 57. The read signal S is connected to the            25   Signals B and B.
shift registers 52 to shift the registers by a number of                     The above interface 13 signals the CPU 10 through the
registers depending on the read Signal S value. The same                  interrupt Signal S when it has an amount of data approach
number of registers, from the end of the buffer, asserts data             ing the limits of its Storage capacity. The CPU then responds
D, on the System data buS 15 during this operation.                       by having the data downloaded onto the system bus 15. It is
   There are basically three types of FIFO buffers, each of               important for the CPU to respond to the interface faster then
which may be used with the present invention. The first type              the imaging array 21 can generate data. In addition, the size
of buffer 44 is the one shown in FIG. 5 where stored data is              of the FIFO buffer 44 will also depend on the latency of the
removed from buffer register series 53 from the first register            CPU 10, since during the period of time required by the CPU
53 on the right hand end and data from the bus 51 is written              10 to respond to the interrupt Signal S, data is being Stored
into the last available shift register 52 from the left end of the   35   in the buffer 44. The faster that the CPU 10 is able to respond
buffer register series 53. A second type of buffer is one where           to the interrupt and accept the downloaded data, the Smaller
the data is written into the first register on the left hand end          the buffer 44 can be and the less space that it will require if
of the buffer register series and data is taken out of the buffer         integrated on the die with the imaging array 21. However, in
register Series from the first register with data in the Series           real time control applications, it is important that the inter
looking at it from the right end of the register Series. The         40   face 13 and the CPU 10 be matched so that the data from all
third type of buffer is one in which data from the data bus               frames Scanned by the imaging array 21 is properly and
is written into the last available shift register looking from            completely transferred to the CPU 10. This requirement may
the left end of the buffer register Series and data is taken out          be relaxed Somewhat for camera type applications where the
of the buffer register series from the first register with data           necessity of capturing all frames is not required.
in the Series looking at it from the right end of the register       45      In a further embodiment of the present invention as
Series. In all three cases, data is removed from the buffer in            illustrated in FIG. 6, the interface 73 would interact with the
the same Sequence that it is entered into the buffer.                     CPU 10 and other system components through a bus arbi
   Referring again to FIG. 2, the interface 13 includes                   tration unit 61. Rather then Send an interrupt signal S to the
devices 45 to 49 to support the FIFO buffer 44. The devices               CPU 10, the interface 73 sends a bus request signal S to
include a Chip Command Decoder 45, FIFO Configuration                50   the bus arbitration unit 61 and receives an arbitration
Registers 46, FIFO Read Control, an Interrupt Generator 48                acknowledgement Signal SAA when the buS 15 is available to
and Array Registers 49.                                                   it for downloading data. As illustrated in FIG. 6, the other
   The CPU 10 accesses the registers 46 and 49 and FIFO                   units, CPU 10 and components 11 in the system have their
buffer 44 through the Chip Command Decoder 45 by assert                   own arbitration request lines 62 and arbitration acknowl
ing the necessary read or write commands, along with the             55   edgement lines 63. The Bus Arbitration Unit 61 receives all
address on the system address and command bus 16. The                     the requests for the bus 15 and selects one unit that is
command decoder 45 identifies any buffer or register being                acknowledged as the current bus master.
addressed and asserts the necessary read or write Signal on                  The required components in the interface 73 that are
the FIFO read control 47 line 56, the FIFO configuration                  required in order for it to be compatible with a bus arbitra
register 46 command bus 57, or the array register 49                 60   tion system are shown in FIG. 7. A Bus Request Generator
command bus 58. The signal on line 56 permits the FIFO                    64 functions in the same manner as the Interrupt Generator
read control 47 to generate a FIFO read Signal S in response              48 shown in FIG. 2. AbuS request Signal S is generated in
the output bus width signal S. Variation of the FIFO 44                   the same manner as the interrupt S. If S-2S, and the bus
output bus width register provides compatibility with a                   request enable Signal S is valid, the generator 64 asserts
variety of system bus configurations such as 8-bit or 32-bit.        65   the bus request Signal S to the bus arbitration unit 61.
   The FIFO configuration registers 46 include the FIFO                      An arbitration acknowledge Signal SAA notifies the inter
output bus width, the FIFO limit value, the FIFO interrupt                face 73 that the interface 73 may assert command of the bus
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                            7                                                                         8
15. The arbitration acknowledge Signal SAA is applied to the           the claims must be accorded the broadest possible interpre
chip command decoder 45 and a bus command unit 65. The                 tation So as to encompass all Such modifications and equiva
arbitration acknowledge Signal SAA deactivates the com                 lent Structures and functions.
mand decoder 45 for the duration that the interface controls              What is claimed is:
the buS 15. On receiving the arbitration acknowledge Signal               1. An interface for receiving data from an image Sensor
SAA, the bus command unit 65 will activate an output                   having an imaging array and a clock generator for transfer
address unit 66 via the request output address signal SA and           to a processor System comprising:
receive from it the next address on the output address Signal             a memory for Storing imaging array data and clocking
SA. This address is sent out onto the System address and                     Signals at a rate determined by the clocking Signals,
control line 16. At the same time the bus command unit 65                 a signal generator for generating a Signal for transmission
asserts the necessary read or write Signal on the FIFO read                  to the processor System in response to the quantity of
control 47 line 67.                                                          data in the memory; and
   The address may represent a location in the CPU 10,                    a circuit for controlling the transfer of the data from the
however, one advantage of this arrangement is that the                       memory at a rate determined by the processor System.
address may be to a location in one of the System compo           15      2. An interface as claimed in claim 1 wherein the memory
nents 11 Such as a memory So that the data may be Stored in            is a first-in first-out (FIFO) buffer.
the system for processing by the CPU 10 without the CPU                  3. An interface as claimed in claim 2 wherein the Signal
10 being disturbed to make the transfer. The output address            generator generates an interrupt signal for transmission to
unit 66 contains a register and increment circuit for the              the processor System.
purpose of recording and updating this address. The                      4. An interface as claimed in claim 3 wherein the circuit
addresses in the output address unit 66 are transferred to the         for controlling the transfer of the data includes:
address registers through buS 15 under the control of a signal            a command decoder for receiving address and command
from CPU 10 on the system control and address bus 16                         Signals from the processor System;
through command decoder 45.                                               a configuration register for Storing configuration data for
   AS Stated previously, the imaging array Sensor 12 and the      25        the FIFO buffer; and
interface may be integrated onto one die. However, in                    a read control for controlling the read-out of the FIFO
addition, the Bus Arbitration Unit 61 may also be integrated                buffer.
onto the same die, and thus the bus arbitration request and              5. An interface as claimed in claim 4 wherein the interface
acknowledge Signals on lines 62 and 63 become external                 further includes an array register for determining the dimen
Signals of the integrated unit.                                        Sion of the imaging array data.
   In a further embodiment of the present invention, the                  6. An interface as claimed in claim 2 wherein the Signal
memory in the interface 83 may be an addressable memory                generator generates a bus request signal for transmission to
81 as shown on FIG.8. For purposes of writing to memory                a bus arbitration unit for the processor System.
81 from the imaging array 21 the row and frame clockSC                   7. An interface as claimed in claim 6 wherein the circuit
and C serve as row and column addresses. The video                35   for controlling the transfer of the data further includes:
System clock C. Serves as a write clock. Thus the memory                  a command decoder for receiving address and command
81 records the imaging array output DA at the Same rate as                   Signals from the processor System;
the imaging array 21, and in the same array order as the                  a configuration register Storing configuration data for the
imaging array 21.                                                           FIFO buffer;
   For reading purposes, the read control signal S. provides      40     a read control for controlling the read-out of the FIFO
the necessary address information, bus width information                    buffer; and
and read control timing. The memory read control 82 derives              a bus command unit for receiving control of the System
this information from the memory configuration registerS 84                bus and providing an address for the data read-out from
via the output bus width signal S and from the command                      the FIFO buffer.
decoder 45 via the read enable and read address bus 16 and        45      8. An interface as claimed in claim 1 wherein the memory
through line 85. The memory configuration registers 84 are             is an addressable memory.
identical to the FIFO configuration registers 46. The                     9. An interface as claimed in claim 8 wherein the signal
memory 81 also includes an increment/decrement counter                 generator generates an interrupt signal for transmission to
Similar to counter 54 to interface with the interrupt generator        the processor System.
48. In addition, the interface 83 may be adapted for use with     50     10. An interface as claimed in claim 9 wherein the circuit
a bus arbitration unit 61 in the same manner that the                  for controlling the transfer of the data includes:
interface 73 has been adapted as described in conjunction                 a command decoder for receiving address and command
with FIG. 7.                                                                 Signals from the processor System;
   Though the use of an addressable memory 81 in interface                a configuration register for Storing configuration data for
83 does not provide the size, simplicity and lower cost of a      55         the addressable memory; and
FIFO memory, the fact that the memory is addressable                      a read control for controlling the read-out of the addres
allows the CPU to select parts or patterns from each frame                   Sable memory.
for processing though the memory 81 would normally hold                  11. An interface as claimed in claim 10 wherein the
one frame which would be refreshed with each Scan.                     interface further includes an array register for determining
   While the invention has been described according to what       60   the dimension of the imaging array data.
is presently considered to be the most practical and preferred            12. An interface as claimed in claim 8 wherein the Signal
embodiments, it must be understood that the invention is not           generator generates a bus request signal for transmission to
limited to the disclosed embodiments. Those ordinarily                 a bus arbitration unit for the processor System.
skilled in the art will understand that various modifications            13. An interface as claimed in claim 12 wherein the circuit
and equivalent Structures and functions may be made with          65   for controlling the transfer of the data further includes:
out departing from the Spirit and Scope of the invention as               a command decoder for receiving address and command
defined in the claims. Therefore, the invention as defined in               Signals from the processor System;
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                                                                                                     10
  a configuration register Storing configuration data for the             16. An integrated Semiconductor imaging circuit as
     addressable memory;                                                claimed in claim 15 wherein the memory includes a first-in
  a read control for controlling the read-out of the addres             first-out (FIFO) buffer.
     Sable memory; and                                                    17. An integrated Semiconductor imaging circuit as
  a bus command unit for receiving control of the System                claimed in claim 16 which further includes a bus arbitration
     buS and providing an address for the data read-out from            unit coupled to the circuit for controlling the transfer of the
     the addressable memory.                                            data.
  14. An interface as claimed in claim 13 wherein the
interface further includes an array register for determining              18. An integrated Semiconductor imaging circuit as
the dimension of the imaging array data.                                claimed in claim 16 which further includes a bus arbitration
   15. An integrated Semiconductor imaging circuit for use              unit integrated on the die and coupled to the circuit for
with an electronic processing System having a data bus                  controlling the transfer of the data.
comprising:                                                                19. An integrated Semiconductor imaging circuit as
   an imaging array Sensor having an array of Sensing pixels            claimed in claim 16 wherein the memory includes an
      and an array address generator integrated on a die; and      15   addressable memory.
   an interface integrated on the die for receiving data from             20. An integrated Semiconductor imaging circuit as
     the imaging array Sensor as determined by the imaging              claimed in claim 19 which further includes a bus arbitration
      array Sensor and adapted to transfer the data to the              unit coupled to the circuit for controlling the transfer of the
     electronic processing System as determined by the                  data.
     electronic processing System, the interface including:
      a memory for Storing imaging array data and address                 21. An integrated Semiconductor imaging circuit as
        Signals at a rate determined by the imaging array               claimed in claim 19 which further includes a bus arbitration
       Sensor; and                                                      unit integrated on the die and coupled to the circuit for
     a circuit for controlling the transfer of the data from the        controlling the transfer of the data.
        memory to the data bus at a rate determined by the         25
        electronic processing System.
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                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.       : 6,972,790 B2                                                                    Page 1 of 1
DATED            : December 6, 2005
INVENTOR(S) : Mark Suska

        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:

        Column 10
        Line 2, after “claim, delete “16 and insert -- 15 --.




                                                                    Signed and Sealed this
                                                                Thirtieth Day of May, 2006


                                                                                   WDJ
                                                                              JON. W. DUDAS
                                                          Director of the United States Patent and Trademark Office
               Case 6:22-cv-01120-ADA Document 1-1 Filed 10/26/22 Page 18 of 18

                UNITED STATES PATENT AND TRADEMARK OFFICE
                      CERTIFICATE OF CORRECTION

PATENT NO.            : 6,972,790 B2                                                               Page 1 of 1
APPLICATIONNO. : 09/742723
DATED                 : December 6, 2005
INVENTOR(S)           : Mark Suska

        It is certified that error appears in the above-identified patent and that said Letters Patent is
        hereby corrected as shown below:

        Column 10
        Line 14, after “claim, delete “16 and insert --15 --.




        This certificate supersedes Certificate of Correction issued May 30, 2006.



                                                                    Signed and Sealed this
                                                        Twenty-fifth Day of December, 2007


                                                                                   WDJ
                                                                              JON. W. DUDAS
                                                          Director of the United States Patent and Trademark Office
